 

 

I`ase 1:07-cv-05316-AKH Document 55 Filed 01/28/2008 Page 1 oft

UNITED STATES DISTRICT COUR'I`
SOUTHERN DISTRICT OF NEW YORK

__________________________________________________________________ X
IN RE WORLD TRADE CENTER LOWER 21 MC 102 (AKH)
MANHATTAN DISASTER SIRE LITIGATION
__________________________________________________________________ X
MIECZYSLAW ROMANIUK
Plaintiff, Index NO.: 07 cv 05316
~against-
NOTICE OF
RECTOR OF TRINITY CHURCH, et. al., APPEARANCE
Defendants. ELECTRONICALLY
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ x FILED

TO the Clerk Ofthis Court and all parties 0frec0rds:
Enter my appearance as counsel in this case fort

The Rector, Church-Wardens, and Vestrymen of Trinity Church, in the city of New-York,
(“Trinity Church”) i/s/h/a “Rector of Trinity Church”.

I certify that I am admitted t0 practice in this c0urt.

Gillian Hines Kost (GK-2880)
59 Maiden Lane

New York, NeW York 10038
Phone: (212) 972-1000

Fax: (212) 972-1030

Dated: NeW York, NeW York
January 23, 2008

 

 

Attorneyfor Defendants.'

The Rector, Church-Wardens, and Vestrymen of
Trinity Church, in the city of New-York,
(“Trinity Church”) i/S/h/a “Rector of Trinity
Church”.

` Ki VGFurterman\WTC-Related\Plaintiff\Aristizabal\Pleadings\Notice Dt`Appearance

 

